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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
                                   www.flmb.uscourts.gov


In re:                                                Chapter 11

MICHAEL KASTRENAKES,                                  Case No. 8:22-bk-1210-CED

         Debtor.
                               /

                         DEBTOR’S OBJECTION TO CLAIM NO. 11
                          FILED BY NEXTGEAR CAPITAL, INC.

                NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

IF YOU OBJECT TO THE RELIEF REQUESTED IN THIS PAPER YOU MUST FILE A RESPONSE WITH
THE CLERK OF COURT AT SAM M. GIBBONS UNITED STATES COURTHOUSE, 801 NORTH
FLORIDA AVENUE, SUITE 555, TAMPA, FLORIDA 33602, WITHIN THIRTY (30) DAYS FROM THE
DATE OF THE ATTACHED PROOF OF SERVICE, PLUS AN ADDITIONAL THREE DAYS IF THIS
PAPER WAS SERVED ON ANY PARTY BY U.S. MAIL.

IF YOU FILE AND SERVE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL
EITHER NOTIFY YOU OF A HEARING DATE OR THE COURT WILL CONSIDER THE RESPONSE
AND GRANT OR DENY THE RELIEF REQUESTED IN THIS PAPER WITHOUT A HEARING. IF YOU
DO NOT FILE A RESPONSE WITHIN THE TIME PERMITTED, THE COURT WILL CONSIDER THAT
YOU DO NOT OPPOSE THE RELIEF REQUESTED IN THE PAPER, AND THE COURT MAY GRANT
OR DENY THE RELIEF REQUESTED WITHOUT FURTER NOTICE OR HEARING.

YOU SHOULD READ THESE PAPERS CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY
IF YOU HAVE ONE. IF THE PAPER IS AN OBJECTION TO YOUR CLAIM IN THIS BANKRUPTCY
CASE, YOUR CLAIM MAY BE REDUCED, MODIFIED, OR ELIMINATED IF YOU DO NOT TIMELY
FILE AND SERVE A RESPONSE.

         MICHAEL KASTRENAKES (the “Debtor”) objects to Claim No. 11 (the “Claim”) filed

by NextGear Capital, Inc. (“NextGear”) and respectfully requests the entry of an order disallowing

the Claim in its entirety. In support thereof, the Debtor states as follows:

         1.      On March 27, 2022 (the “Petition Date”), the Debtor filed with this Court his

Voluntary Petition for Relief under Chapter 11 of Title 11 of the United States Code (the

“Bankruptcy Code”), and made an election to proceed under Subchapter V of the Small Business

Reorganization Act, as amended.
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         2.       On June 13, 2022, the Debtor filed an Amended Petition eliminating the Subchapter

V election.

         3.       On June 2, 2022, NextGear filed the Claim in the total amount of $1,237,031.70,

as a general unsecured claim in connection with the Debtor’s Individual Personal Guaranty (the

“Guaranty”) of a Demand Promissory Note and Loan and Security Agreement executed by MK

Automotive, Inc., d/b/a New Wave Auto Sales.

         4.       The Claim is based upon the claims set forth in the six-count Complaint for

Damages and Replevin filed by NextGear against, inter alia, the Debtor in the Circuit Court of the

Sixth Judicial Circuit in and for Pinellas County, Florida as Case No. 20-003846-CI (the “State

Court Action”). Only one of the counts—Count IV for breach of the Guaranty—is against the

Debtor.

         5.       On June 15, 2022, the Debtor removed the State Court Action to this Court as Adv.

Proc. No. 8:22-ap-000112-CED (the “Removed Action”).

         6.       The Claim should be disallowed in its entirety. The Debtor has defenses to the

Claim as well as counterclaims against NextGear, which the Debtor asserts will completely offset

the Claim. These defenses and counterclaims were filed in the State Court Action and are set forth

on Composite Exhibit A attached hereto.

         7.       The Debtor intends to file a motion to consolidate this objection with the Removed

Action for purposes of discovery and trial.

         8.       The Debtor reserves the right to supplement or amend this objection as discovery

proceeds.




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         WHEREFORE, the Debtor respectfully requests that this Court enter an order sustaining

the objection, disallowing the Claim in its entirety, and providing such other and further relief as

may be just.

                                              /s/ Amy Denton Mayer
                                              Edward J. Peterson (FBN 0014612)
                                              Amy Denton Mayer (FBN 0634506)
                                              Stichter Riedel Blain & Postler, P.A.
                                              110 East Madison Street, Suite 200
                                              Tampa, Florida 33602
                                              Telephone: (813) 229-0144
                                              Email: epeterson@srbp.com; amayer@srbp.com
                                              Attorneys for Debtor

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing Debtor’s Objection to

Claim No. 11 Filed by the NextGear Capital, Inc. was furnished on this 26th day of August, 2022

by the Court’s CM/ECF electronic noticing system to all parties receiving CM/ECF electronic

noticing and by U.S. mail to:

NextGear Capital, Inc.
Attn: Susan L. Smith, Paralegal
11799 N. College Ave.
Carmel, IN 46032


                                              /s/ Amy Denton Mayer
                                              Amy Denton Mayer




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                  COMPOSITE EXHIBIT A
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                      INTHECIRCUITCOURTOFTHESIXTHJUDICIALCIRCUIT
                           INANDFORPINELLASCOUNTY,FLORIDA

         NEXTGEARCAPITALINC.,

               Plaintiff,

         v.                                                             CASENO.20-003846-CI

         MKAUTOMOTIVE,INC.,etal.,

               Defendants.
         _____________________________/




            EXHIBITATODEFENDANT’S MOTIONFOR
           LEAVETOAMENDAFFIRMATIVEDEFENSES




                                   Englander Fischer
                                             ATTORNEYS
                                721 First Avenue North • St.
                                                             Petersburg, Florida 33701
                                     Phone (727) 898-7210 • Fax (727) 898-7218
                                                    eflegal.com


***ELECTRONICALLY FILED 02/18/2022 04:45:33 PM: KEN BURKE, CLERK OF THE CIRCUIT COURT, PINELLAS COUNTY***
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             INTHECIRCUITCOURTOFTHESIXTHJUDICIALCIRCUIT
                  INANDFORPINELLASCOUNTY,FLORIDA

NEXTGEARCAPITALINC.,

      Plaintiff,

v.                                                            CASENO.20-003846-CI

MKAUTOMOTIVE,INC.,etal.,

      Defendants.
_____________________________/

               DEFENDANTS’AMENDEDAFFIRMATIVEDEFENSES

      Defendants, MICHAEL KASTRENAKESand MK AUTOMOTIVE,INC.d/b/a NEW

WAVEAUTOSALES (“Defendants”)byandthroughundersignedcounselandpursuanttoFla.

R.Civ.P.1.190herebyamendtheiraffirmativedefensesinthisactionasfollows:

                          FirstAffirmativeDefense–Accord

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshow
        thatPlaintiff’sclaimsarebarredby
                                       thedoctrineofaccordandsatisfaction.Anaccord

andsatisfactionresultswhen:(1)theparties mutuallyintendtoeffectasettlementofanexisting

disputebyentering
                intoasupersedingagreement;and(2)
                                               there
                                                   isactualperformance
                                                                     inaccordance

withthenewagreement.CirrusDesignCorp.v.Sasso,95So.3d308,311(Fla.4thDCA2012).

Ifapartyacceptsanofferforasupersedingagreement,itisboundtoeachoftheconditionsinthe

newagreementandabandonstherightspreviouslyheld.Id.at312.Anewagreementwasformed

baseduponthetermssetforthinExhibitAwherebyPlaintiffagreedtoreleaseallremainingdebt

aslongasDefendantcomplied withthetermsoftheAgreement.Defendantperformedallofits

obligationsundertheagreementcausinganaccordandsatisfaction.


                         Englander Fischer
                                   ATTORNEYS
                      721 First Avenue North • St.
                                                   Petersburg, Florida 33701
                           Phone (727) 898-7210 • Fax (727) 898-7218
                                          eflegal.com
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      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

             SecondAffirmativeDefense–OffSetand MarshalingofAssets

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshow
        thatPlaintiff’sclaimsfordamagesaresetoffasaresultofmarshallingofassets.
                                                                              Prior

to
 thePlaintiffpursuingaclaimofdamages,
                                    itmustdeterminea
                                                   liquidatedamountafter
                                                                       itmarshals

andsellsoffallcollateraltoavoidawindfallforthePlaintiff.Underinformationandbelief,the

totaldebtclaimedbyPlaintiffisexceededbythevalueofthevehiclesturnedovertoPlaintiffby

DefendantpursuanttotheagreementinExhibitA.

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                           ThirdAffirmativeDefense–Offset

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshowthat DefendantsareentitledtoasetoffofitsawardofdamagesagainstPlaintiffin

Defendants’counterclaim.

      WHEREFORE, DefendantspraytheCourtfindnorecoveryfor thePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                   FourthAffirmativeDefense–Failureto Mitigate

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshow
        thatPlaintiff’sclaimsarebarredbecauseofitsfailure
                                                        tomitigate
                                                                 itsdamages.
                                                                           Plaintiff

failedtoexercisereasonablediligenceinfailingtoresellofNew Wave’sinventoryandassets.To

date,DefendantsareunawareofwhatPlaintiffdidwith
                                              thereturned
                                                        inventoryandbusinessassets.

VehicleshavebeenreturnedtothePlaintiffasaresultoftheagreementbetweenPlaintiffand



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DefendantfoundinExhibit A.Plaintiffhasnotaccountedforthesaleofsuchvehicles. Under

informationandbelief,thetotaldebtclaimedbyPlaintiffisexceededbythevalueofthevehicles

turnedovertoPlaintiffbyDefendantpursuanttotheagreementinExhibitA.

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                  FifthAffirmativeDefense–Plaintiff’sPriorBreach

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshowthatanybreachesby DefendantsareexcusedbyPlaintiff’sprior materialbreach.

Plaintiffseizedallof Defendants’inventoryandbusinessassetsandhasnotprovidedany

informationas
            tothevalueof
                       thoseseizedassets.Plaintiffwasrequired
                                                            toapply
                                                                  thevalueof
                                                                           those

assetsasacredittoanyamountsitclaimsaredueandowning.Todate,Plaintiffhasretainedthe

assetsandtheirvaluewithoutapplyinganycredittotheallegeddebt.

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                      SixthAffirmativeDefense–Unclean Hands

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshowthat Plaintiff’sclaimsarebarredbythedoctrineofuncleanhands. Asdescribedin

moredetailintheCounterclaim,PlaintiffpurposefullysentalettertoallofDefendants’known

creditorsfalselyrepresentingthat Defendants wereindefaultoftheirloanobligations,causing

Defendantslinesofcreditandbankingrelationshipstoend.Consequently,Defendantscouldnot

conductanybusiness,makingitimpossibleforDefendantstopayanymoneytowardtheloan.

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.



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                  SeventhAffirmativeDefense–DocumentaryTaxes

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshowthatPlaintiff’sclaimforbreachofpromissorynoteinCountI,theforeclosureaction

inCountII,andbreachofpersonalguarantiesinCountsIVandVarebarredbyitsfailuretopay

documentarytaxes.Promissorynotesfor whichdocumentarytaxeshavenotbeenpaidare,asa

matteroflaw,unenforceablebyanyFloridacourt. SeeSommav. MetraElecs.Corp.,727So.2d

302,304(Fla.5thDCA1999);Rappaportv.HollywoodBeachResortCondominiumAss’n,Inc.,

905So.2d1024(Fla.4thDCA2005).

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                     EighthAffirmativeDefense–OriginalNote

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshowthatPlaintiff’sclaimforbreachofpromissorynoteinCountI,theforeclosureaction

inCountII,andbreachofpersonalguarantiesin CountsIVand Varebarredbyitsfailureto

produceandsurrendertheoriginalnote. Apromissorynoteisclearlyanegotiableinstrument

withinthedefinitionof§673.1041(1),andeithertheoriginal mustbeproduced,orthelost

document mustbereestablishedunder§673.3091,FloridaStatutes.See Masonv. Rubin,727

So.2d283(Fla.4thDCA1999).

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                         NinthAffirmativeDefense– Waiver

      AsafullandcompletedefensetoallofPlaintiff’sclaimsagainstDefendants,Defendants

wouldshowthatPlaintiff’sclaimsarebarredbythedoctrineofwaiver. Waiveristhevoluntary



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andintentionalrelinquishmentofaknownrightorconductwhichinferstherelinquishmentofa

knownright.Kirschnerv.Baldwin,988So.2d1138,1142(Fla.5thDCA2008).Theelementsare:

(1)theexistenceatthetimeofthewaiverofaright,privilege,advantage,orbenefitthat maybe

waived;(2)theactualorconstructiveknowledgethereof;and(3)anintentiontorelinquishthat

right,privilege,advantageorbenefit.DestinSav.Bankv.SummerhouseofFWB,Inc.,579So.2d

232,235(Fla.1991).Asmore
                       thoroughlydescribed
                                         intheCounterclaim,Plaintiffwaivedremedies

availableunder
             the
               termsof
                     thePromissoryNoteandPersonalGuaranties
                                                          inexchangefor
                                                                      thenew

agreementreachedbytheparties.

      WHEREFORE, DefendantspraytheCourtfindnorecoveryforthePlaintiffandforan

awardofattorney’sfeesandcostsagainstPlaintiffandinfavorofDefendants.

                           CERTIFICATE OFSERVICE

      IHEREBYCERTIFYthatonthisdateatrueandcorrectcopyoftheforegoinghasbeen

electronicallyfiledwiththeClerkofCourtbyusingtheFloridaCourtsE-FilingPortalwhichwill

sendanoticeofelectronicfilingtothefollowing:

 NicoletteC.Vilmos,Esq.                    BrianR.Hummel,Esq.
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 AttorneysforPlaintiff                     AttorneyforAscentiumCapital,LLC
 JenniferSmithThomas,Esq.,and              ChristopherR.Thompson,Esq.
 ChristinaH.Tiblier,Esq.                   Burr&FormanLLP
 Rumberger,Kirk&Caldwell,P.A.              200S.OrangeAve.,Suite800
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 jthomas@rumberger.com                     Company
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                                         5
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ctibliersecy@rumberger.com
Attorneys for      Automotive    Finance
Corporation
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P.O.Box3913                                GreatAmericaFinancialServicesCorporation
Tampa,FL33602-3913                         OneGreatAmericaPlaza
kdisanto@bushross.com                      625FirstSt.,SE,Suite800
ksprehn@bushross.com                       CedarRapids,IA52401
Attorneyfor MariaKastrenakes               slouvar@greatamerica.com

ByU.S. Mailto:
CenterstateBank,N.A.
c/oOfficeofGeneralCounsel,
RegisteredAgent
      th
19518   StreetN.W.
WinterHaven,FL33881

     DATEDthis     dayofFebruary,2022.

                                     ENGLANDERFISCHER


                                BY: /s/
                                    DavidS.Delrahim,Esq.
                                     FloridaBarNo.:0066368
                                    Primary: ddelrahim@eflegal.com
                                    Secondary: creeder@eflegal.com
                                    ALICIAGANGI
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                                    ENGLANDERANDFISCHERLLP
                                     721FirstAvenueNorth
                                     St.Petersburg,Florida33701
                                     Tel:(727)898-7210/Fax:(727)898-7218
                                    Attorneysfor MKAutomotive,Inc.,d/b/aNew Wave
                                    AutoSales; MichaelKastrenakesandNew Wave
                                    AutoFinance,LLCf/k/aPlatinumAutoFinance,
                                    LLC




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                                                                              EXHIBITA




From:Mike Kastrenakes
Sent:Friday,August21,202011:18AM
To:SteveFishman<steve@attorneystevenfishman.com
                                              >
Subject:FW:CITInventory




                          Mike Kastrenakes

Nexfl/Wavel               President

             Auto/
                          New Wave Auto Sales
                          Direct 1-727-475-5170
                             ai mikek@newwaveautosales.com
  f rr•dom   to Puriw*    l   >




                www newwaveautosales com

From:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com>
Sent:Wednesday, April15,202011:04AM
To:Mike Kastrenakes<mikek@newwaveautosales.com>
Subject:RE:CITInventory

Agreed.

LW


From:Mike Kastrenakes<mikek@newwaveautosales.com>
Sent:Wednesday, April15,202010:49AM
To:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com
                                                      >
Subject:RE:CITInventory
              Case 8:22-bk-01210-CED                     Doc 127      Filed 08/26/22    Page 13 of 31



Loganonequickpointofclarification.Thenextpaymentof75kwillhappenassoonaswereceivethefundsfromthePPPloan.I
                                                                                                       spoketo
bybankeryesterdayandhesaidtheyarerequiredtofundwithin10businessdays.Ijust
                                                                        wanttomakesurewedon’thaveaproblemwith
NGifittakeslonger
                than10calendardaysfromtoday.Ofcourseif   it
                                                          comesinsoonerwewillpaythe75ksooner.Youcanrespondtothis
emailthatyouagree.

ThanksAgain,




                                  Mike Kastrenakes

NewWave!                          President

              Auto/
                                  New Wave Auto Sales
                                  Direct 1-727-475-5170
  f t ••d o   to   P u t 1 u •.
                                     i
                                         mikekQnewwaveautosales.com
                    www.newwaveautosales.com

From:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com>
Sent:Wednesday, April15,202010:01AM
To:Mike Kastrenakes<mikek@newwaveautosales.com>
Subject:RE:CITInventory

Mike,

JustwantedtoconfirmthatNGCis
                           onboardwiththefollowing:

   -    $75ktoday/$75in  thenext10days
   -    RemainderofSOTclearedwhenDisasterrelieffunds
   -    CITunitsarepaidoffastheyfund
   -    ThreeremainingNGCfinancedunitsthathavenotbeenpickeduparereturnedtoNGCforpickup
   -    NGCreleasesSOTtitlesuponreceiptof$75ktoday
   -    NGCwillnotpursueanycollections/defaultremedies(KOBook,lawsuit,
                                                                     etc)thatis
                                                                              hasnotalreadypursuedaslong
                                                                                                       asdealeris
                                                                                                                in
        compliance

LW


From:Mike Kastrenakes<mikek@newwaveautosales.com>
Sent:Tuesday,April14,20206:09PM
To:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com
                                                      >
Subject:RE:CITInventory

Logan
Aswediscussedonthephone that  NewWave is remainingin businessaswearefortunatethatwehaveaprivateline   that will
                                                                                                              be
providingusmoreinventory.Thingsremainveryslow;howeverweareoptimisticthatwhenthingsdocomebackwewillbepositionedto
reboundandgrowoursales.In  orderforustoremainin  businessitis
                                                            criticalthatwereceivethetitlesfortheSOTunitssothatwedon’t
loseourbanksthatfinanceourcustomers.Ofcourse,remainingin  businessandwiththeSBAfundscomingin    weareconfidentthatwe
canmakebothNGandAFCwholeontheSOTunits.Theunknownforallofusrightnowis          themarketvalueofthecarsthatwerepicked
up.Overallwehadequityamonthago,especiallysincewemadeallofourcurtailmentpayments.However,withthepandemicthathas
allchanged.Iguesswewillcrossthatbridgelater.HopefullyNGwillbestrategicandnotsellatthemarketlow.In  lightofourcurrent
cashpositionandfundsthatweneedtocontinuepayingoperatingexpenseshereis    whatIpropose.

   1.NewWave willpaythependingfundingunitsoffassoonasfundinghappens.We willupdateyoudailyandaswedidtodaypayoff
     anyunitsassoonastheyfund.
   2.NewWave willpaynow$50,000towardstheSOTbalance.
   3.When thePPPloan   closesNewWave willpayanadditional$75,000towardstheSOT.I    heardfrommybankertodayandhetoldme
     thatthisloanwillcloseandfundwithin7-10businessdaysatthelatest.Thebankis   requiredtofundallapprovedapplications
     within10businessdays.I  willaskhimtoputthisin writingtomorrow.
   4.NewWave hasappliedfor2mmfromtheeconomicdisasterloan.Thetimingofthisis       vaguebutI  amhearingits 30daysaway.I
     calledtheSBAandtheyhavemyapplicationandI    shouldbereceiving adocumentlist soon.Forthisloan  wewillneedtoshow
     proofoflossfromthepandemicwhichwillbeveryeasyforustodo.AgoodportionofthesefundswillbeusedtocleanuptheSOT.
     Again,Idon’tknowthespecificsandif therewillbeanyrestrictionsonthisloan.If
                                                                             thereis stillabalanceaftertheseloans
                                                                                                                fundthat
     wewouldlook  toenterinto  ashorttermpaymentplan.
   5.We arealsoexpectingotherreliefloansspecifictothecarrentalbusiness.We don’thavespecificsontheseyetbutwethinkthere
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       couldbeadditionalfundsforussincecarrentalwasabigpartofourlosses.

Finally,wewouldneedAFCandNGtoagreetotermsin
                                          orderforthistohappen.Again,wewanttoremainin
                                                                                    businessandpaybackNG
ASAPasdescribedabove.

Pleaselet
        meknowif
               youhaveanyquestionsregardingthisproposal.I
                                                        amavailablebycellif
                                                                          youneedtodiscuss.

ThankYou,




                               Mike Kastrenakes

NetA/Wave?                     President
                               New Wave Auto Sales
                  Auto/        Direct 1-727-475-5170
                                   i
                                      mikekQnewwaveautosales.com
                      www newwaveautosaies corn

From:Mike Kastrenakes
Sent:Tuesday,April14,20203:21PM
To:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com>
Subject:RE:CITInventory

Yourstocknumberif
                its
                  easieris
                         120482.
ThankYou,




                               Mike Kastrenakes

NevJWave^                      President
                               New Wave Auto Sales

         a   n
                  Auto/        Direct 1-727-475-5170
                                   i
                                      mikekQnewwaveautosales.com
                      www newwaveautosaies com

From:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com>
Sent:Tuesday,April14,20202:58PM
To:Mike Kastrenakes<mikek@newwaveautosales.com>
Subject:Re:CITInventory

Yes,Letmeknowwhichone.

LW

GetOutlookforiOS

From:Mike Kastrenakes<mikek@newwaveautosales.com>
Sent:Tuesday,April14,20202:21:29PM
To:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com
                                                      >
Subject:RE:CITInventory

Yesthatis
        fine.Canyousendmeoneextratitle?If
                                        so120482.
ThankYou,




                               Mike Kastrenakes

Ne\A/Wave^                     President

                  Auto/
                               New Wave Auto Sales
                               Direct 1-727-475-5170
                                  all mikekQnewwaveautosales.com
  f f • • 4 o m   to Puriaio   E




                      www newwaveautosaies com

From:White, Logan(CAI-Florida)<Logan.White@coxautoinc.com>
Sent:Tuesday,April14,20202:10PM
                 Case
                  Case8:22-bk-01210-CED
                       8:22-ap-00112-CED Doc
                                           Doc127
                                                28 Filed 08/26/22
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                       IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                              IN AND FOR PINELLAS COUNTY, FLORIDA

         NEXTGEAR CAPITAL INC.,

               Plaintiff,

         v.                                              CASE NO. 20-003846-CI

         MK AUTOMOTIVE, INC., et al.,

               Defendants.
         _____________________________/




              EXHIBIT A TO DEFENDANT’S MOTION FOR
                  LEAVE TO FILE COUNTERCLAIM
             Case
              Case8:22-bk-01210-CED
                   8:22-ap-00112-CED Doc
                                      Doc127
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                IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                       IN AND FOR PINELLAS COUNTY, FLORIDA

NEXTGEAR CAPITAL INC.,

        Plaintiff,

v.                                                           CASE NO. 20-003846-CI

MK AUTOMOTIVE, INC., et al.,

      Defendants.
_____________________________/

                                       COUNTERCLAIM

        Counter-Plaintiff, MK AUTOMOTIVE, INC. d/b/a NEW WAVE AUTO SALES, by and

through undersigned counsel and pursuant to Fla. R. Civ. P. 1.170 hereby sues Counter-Defendant,

NEXTGREAR CAPITAL, INC., as follows:

                                       General Allegations

        1.      This is an action for damages in excess of $30,000.00, exclusive of attorneys’ fees,

interest, or court costs.

        2.      Counter-Plaintiff, MK Automotive, Inc., a Florida corporation d/b/a New Wave

Auto Sales does business in Pinellas County, Florida (“New Wave”).

        3.      Michael Kastrenakes is an individual residing in Pinellas County, Florida

(“Kastrenakes”).

        4.      Counter-Defendant, NextGear Capital, Inc., a Delaware Corporation filed a lawsuit

against MK Automotive in Pinellas County, Florida regarding the same subject matter alleged in

this Counterclaim (“Nextgear”).
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        5.      The Court has jurisdiction over Nextgear pursuant to Fla. Stat. §48.193 and Fla.

Stat. §685.102 because it submitted itself to the jurisdiction of the courts of this state by operating,

conducting, engaging in, and carrying on business in this state which this cause of action arises,

being engaged in substantial and not isolated activity within this state, committing a tort in this

state from which this cause of action arises, by entering into a contract in this state, and by filing

a lawsuit regarding the same subject matter as alleged herein in Pinellas County, Florida.

        6.      Venue is appropriate in this Court because Nextgear filed a lawsuit regarding the

same subject matter as alleged herein in this Court and selected the forum.

        7.      All conditions precedent to the institution of this action have been performed, have

occurred, or have been waived.

                                           Factual Allegations

        8.      In September 2013, Nextgear advanced funds to New Wave by way of a Promissory

Note and a $3,000,000.00 line of credit.

        9.      Kastrenakes executed a personal guaranty (“Guaranty”) in favor of Nextgear

related to New Wave’s liabilities under the Promissory Note.

        10.     During the Covid-19 pandemic in 2020, New Wave’s sales decreased dramatically,

and it applied for a $2,000,000.00 disaster relief loan.

        11.     While waiting for the disaster relief loan, New Wave still needed Nextgear to fund

its operating expenses.

        12.     Accordingly, on April 14, 2020, Kastrenakes, as President of New Wave, proposed

via email the following to Nextgear:

                a.      New Wave will pay Nextgear $50,000.00 immediately toward outstanding

                        line of credit balance;



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                   b.    New Wave will pay Nextgear an additional $75,000.00 after it receives a

                         PPP loan; and

                   c.    New Wave will pay the remaining unpaid balance from the $2MM disaster

                         relief loan as soon as the loan is approved and the funds clear.

       13.         On April 15, 2020, Nextgear made a counteroffer to New Wave’s proposal and

asked New Wave to confirm agreement with the following terms:

                   a.    New Wave pays Nextgear $75,000.00 on April 15, 2020 and an additional

             $75,000.00 within ten days;

                   b.    Nextgear will release vehicles sold out of trust titles (a/k/a SOT) upon

             receipt of the $75,000.00

                   c.    The remainder of New Wave’s unpaid balance will be repaid after New

             Wave receives its disaster relief loan funds;

                   d.    Contracts in transit (a/k/a CIT) units (ie. cars sold but not funded) will be

             paid off by New Wave as they fund;

                   e.    Three remaining units financed by Nextgear will be returned to Nextgear;

             and

                   f.    “Nextgear agrees not to pursue any collections/default remedies (KO

             Book, lawsuit, etc) that it has not already pursued as long as dealer is in

             compliance” (emphasis added).

       14.         On the same day in response, M Kastrenakes clarified that the next payment of

$75,000.00 will be paid as soon as New Wave receives its funds from a PPP loan.




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       15.      On April 15, 2020, Nextgear agreed to the terms outlined in the email, as clarified

by M Kastrenakes. A true and correct copy of the written and confirmed agreement is attached

hereto as Exhibit “A.”

       16.      Accordingly, on April 15, 2020, Nextgear and New Wave entered into a valid

contract regarding the parties obligations regarding the promissory note and line of credit

(“Contract”).

       17.      This Contract was an accord and satisfaction of New Wave’s, Kastrenakes’s, and

Nextgear’s rights and obligations under the original Promissory Note and which would then relieve

the obligations under Guaranty.

       18.      New Wave complied with all of its payment obligations outlined in the Contract.

However, New Wave never received the disaster relief loan.

       19.      Accordingly, New Wave was not under any obligation to repay the remaining

unpaid balance because it did not receive the $2MM loan as outlined in the Contract.

       20.      Separately, while the parties were negotiating the terms of the Contract, Nextgear

sent letters to New Wave’s creditors, indicating that New Wave is in default of its loan obligations

and that Nextgear intends to repossess and sell New Wave’s inventory:

                a.     Bank of America

                b.     Centerstate Bank

                c.     Jefferson Bank of Florida

                d.     Automotive Finance Corporation

                e.     CT Corporation System

                f.     Republic Bank & Trust Company

                g.     Great America Financial Services Corporation



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(“Finance Companies”)

A copy of an email from Nextgear indicating that the letters were sent to the Finance Companies

is attached hereto as Exhibit “B.”

        21.    After the letters were sent to the Finance Companies, Nextgear emailed New Wave

admitting that the letters should not have been sent. A copy of the email is attached hereto as

Exhibit “C.”

        22.    After receiving Nextgear’s letter, the Finance Companies discontinued their lines

of credit and stopped doing business with New Wave.

        23.    The letters caused a ripple effect throughout New Wave’s operations and ultimately

caused New Wave to shut down completely.

        24.    Nextgear’s actions did not give New Wave the ability to continue its business

operations, and as a result lost millions of dollars from forcing its business to shutdown.

                                          COUNT I
                          Breach of Contract – New Wave v. Nextgear

       25.     New Wave realleges paragraphs 1 through 24 as if fully set forth herein.

       26.     Nextgear entered into a Contract with New Wave.

       27.     Nextgear agreed to an accord and satisfaction of the debt owed by New Wave to

Nextgear upon performance.

       28.     Nextgear materially breached the terms of the Contract by filing a lawsuit against

New Wave and Kastrenakes.

       29.     Additionally, Nextgear materially breached the terms of the Contract by contacting

New Wave’s creditors and incorrectly informing them that New Wave was in default of its loan

obligations with New Wave.



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       30.     MK Automotive suffered damages as a result of Nextgear’s breaches.

       WHEREFORE, New Wave respectfully request that this Court enter a judgment against

Nextgear for damages, interest, court costs, and any other relief as the Court deems necessary

under the circumstances.

                                             COUNT II
                           Tortious Interference – New Wave v. Nextgear

       31.     New Wave realleges Paragraphs 1 through 24 as if fully set forth herein.

       32.     A business and contractual relationship existed between New Wave and each of the

Finance Companies.

       33.     Nextgear had knowledge of those business relationships and New Wave’s rights

and obligations thereunder.

       34.     Nextgear intentionally or acted in gross negligence or reckless disregard when it

unjustifiably interfered with New Wave’s business relationships by incorrectly informing them

that Nextgear was going to repossess all of New Wave’s equipment, making it impossible for New

Wave to carry on its business.

       35.     Nextgear, had no legitimate, justifiable reason for its interference. Instead, the

interference was motivated by malice, as there is no justifiable reason to contact all of New Wave’s

creditors about its status on payments to Nextgear.

       36.     New Wave has been damaged by Nextgear’s tortious interference because the

Finance Companies refused to do business with New Wave, closed lines of credits with New

Wave, and caused New Wave’s operations to stop completely.

       37.     New Wave reserves its right to amend this pleading to plead and prove punitive

damages.




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        WHEREFORE, New Wave respectfully requests this Court enter judgment against

Nextgear for damages, special damages including lost profits, damages for reputational harm,

interest, court costs, and any other relief as the Court deems necessary under the circumstances.

                                          COUNT III
                            Slander of Credit – New Wave v. Nextgear

        38.     New Wave realleges Paragraphs 1 through 24 as if fully set forth herein.

        39.     Nextgear willfully and maliciously made false statements to the Finance

Companies regarding New Wave’s indebtedness to Nextgear.

        40.     Nextgear new at the time the statements were made that they were false. In fact,

Nextgear admitted that the statements were false and should not have been made to the Finance

Companies. See Exhibit “B.”

        41.     Nextgear’s intent at the time of making the statement was with malice intent of

preventing New Wave from procuring credit from the Finance Companies.

        42.     As a direct result of Nextgear’s false statements to the Finance Companies, New

Wave has been damaged.

        43.     The Finance Companies, relying on Nextgear’s false statements, closed lines of

credit with New Wave that New Wave relied on to conduct its business.

        44.     Nextgear’s actions were malicious and libel per se because Nextgear disregarded

the truth, made no effort to cure the misrepresentations despite admitting that they were made in

error, and continues to persist its wrongful position in this litigation.

        45.     New Wave reserves its right to amend its pleading to plead and prove punitive

damages.




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       WHEREFORE, New Wave respectfully requests this Court enter judgment against

Nextgear for damages, special damages including lost profits, damages for reputational harm,

interest, court costs, and any other relief as the Court deems necessary under the circumstances.

                                     COUNT IV
       Declaratory Judgment – New Wave, M Kastrenakes, MJ Kastrenakes v. Nextgear

       46.     New Wave realleges Paragraphs 1 through 24 as if fully set forth herein.

       47.     This is an action for declaratory judgment pursuant to Ch. 86, Florida Statutes.

       48.     Nextgear improperly claims it is entitled to repayment under the terms of a

Promissory Note and related Guaranty.

       49.     New Wave is in doubt as to whether there has been an accord and satisfaction of

the Promissory Note and Guaranty after New Wave and Nextgear entered into the Contract. See

Exhibit “A.”

       50.     New Wave is entitled to have their doubts regarding their rights and obligations

under the Contract, Promissory Note and Guaranty resolved.

       51.     Accordingly, there exists a present, actual, and justiciable controversy between

Nextgear and Counterclaim Plaintiffs.

       52.     The relief sought would dispose of the current controversy and is not intended as

a request for legal advice or an advisory opinion from the Court.

       WHEREFORE, Counterclaim Plaintiffs respectfully request that this Honorable Court

enter judgment declaring that: (1) the Contract is an accord and satisfaction of the Promissory

Notes and the Guaranty; (2) Nextgear’s claims are prohibited under the doctrine of accord and

satisfaction; (3) and New Wave only had an obligation to repay any additional funds to Nextgear

if it received the economic disaster relief loan; and (4) any other relief as the Court deems

necessary under the circumstances, including supplemental relief to determine that any other

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obligations by Kastrenakes or Maria Kastrenakes have been resolved or satisfied as a result of this

Court’s findings.


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this date a true and correct copy of the foregoing has been

electronically filed with the Clerk of Court by using the Florida Courts E-Filing Portal which will

send a notice of electronic filing to the following:

 Nicolette C. Vilmos, Esq.                             Brian R. Hummel, Esq.
 Nelson Mullins Broad and Cassel                       Wright Law Group, PLLC
 390 N. Orange Ave., Suite 1400                        1060 Woodcock Road, Suite 128
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 Katie.bartoo@nelsonmullins.com                        flservice@replevinlawfirm.com
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 Attorneys for Plaintiff                               Attorney for Ascentium Capital, LLC
 Jennifer Smith Thomas, Esq., and                      Christopher R. Thompson, Esq.
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 ctibliersecy@rumberger.com
 Attorneys     for       Automotive  Finance
 Corporation
 Kathleen L. DiSanto, Esq.                             By U.S. Mail to:
 Bush Ross, P.A.                                       Steve Louvar
 1801 N. Highland Ave.,                                Litigation Specialist
 P.O. Box 3913                                         GreatAmerica Financial Services Corporation
 Tampa, FL 33602-3913                                  One GreatAmerica Plaza
 kdisanto@bushross.com                                 625 First St., SE, Suite 800
 ksprehn@bushross.com                                  Cedar Rapids, IA 52401
 Attorney for Maria Kastrenakes                        slouvar@greatamerica.com

 By U.S. Mail to:
 Centerstate Bank, N.A.
 c/o Office of General Counsel,

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Registered Agent
1951 8th Street N.W.
Winter Haven, FL 33881

     DATED this    day of February, 2022.

                                       ENGLANDER FISCHER


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                                       Attorneys for MK Automotive, Inc., d/b/a New Wave
                                       Auto Sales; Michael Kastrenakes and New Wave
                                       Auto Finance, LLC f/k/a Platinum Auto Finance,
                                       LLC




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                                                                  EXHIBIT A




From: Mike Kastrenakes
Sent: Friday, August 21, 2020 11:18 AM
To: Steve Fishman <steve@attorneystevenfishman.com>
Subject: FW: CIT Inventory




From: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Sent: Wednesday, April 15, 2020 11:04 AM
To: Mike Kastrenakes <mikek@newwaveautosales.com>
Subject: RE: CIT Inventory

Agreed.

LW


From: Mike Kastrenakes <mikek@newwaveautosales.com>
Sent: Wednesday, April 15, 2020 10:49 AM
To: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Subject: RE: CIT Inventory
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Logan one quick point of clarification. The next payment of 75k will happen as soon as we receive the funds from the PPP loan. I spoke to
by banker yesterday and he said they are required to fund within 10 business days. I just want to make sure we don’t have a problem with
NG if it takes longer than 10 calendar days from today. Of course if it comes in sooner we will pay the 75k sooner. You can respond to this
email that you agree.

Thanks Again,




From: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Sent: Wednesday, April 15, 2020 10:01 AM
To: Mike Kastrenakes <mikek@newwaveautosales.com>
Subject: RE: CIT Inventory

Mike,

Just wanted to confirm that NGC is on board with the following:

     -   $75k today / $75 in the next 10 days
     -   Remainder of SOT cleared when Disaster relief funds
     -   CIT units are paid off as they fund
     -   Three remaining NGC financed units that have not been picked up are returned to NGC for pickup
     -   NGC releases SOT titles upon receipt of $75k today
     -   NGC will not pursue any collections/default remedies (KO Book, lawsuit, etc) that is has not already pursued as long as dealer is in
         compliance

LW


From: Mike Kastrenakes <mikek@newwaveautosales.com>
Sent: Tuesday, April 14, 2020 6:09 PM
To: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Subject: RE: CIT Inventory

Logan
As we discussed on the phone that New Wave is remaining in business as we are fortunate that we have a private line that will be
providing us more inventory. Things remain very slow; however we are optimistic that when things do come back we will be positioned to
rebound and grow our sales. In order for us to remain in business it is critical that we receive the titles for the SOT units so that we don’t
lose our banks that finance our customers. Of course, remaining in business and with the SBA funds coming in we are confident that we
can make both NG and AFC whole on the SOT units. The unknown for all of us right now is the market value of the cars that were picked
up. Overall we had equity a month ago, especially since we made all of our curtailment payments. However, with the pandemic that has
all changed. I guess we will cross that bridge later. Hopefully NG will be strategic and not sell at the market low. In light of our current
cash position and funds that we need to continue paying operating expenses here is what I propose.

     1. New Wave will pay the pending funding units off as soon as funding happens. We will update you daily and as we did today payoff
        any units as soon as they fund.
     2. New Wave will pay now $50,000 towards the SOT balance.
     3. When the PPP loan closes New Wave will pay an additional $75,000 towards the SOT. I heard from my banker today and he told me
        that this loan will close and fund within 7-10 business days at the latest. The bank is required to fund all approved applications
        within 10 business days. I will ask him to put this in writing tomorrow.
     4. New Wave has applied for 2mm from the economic disaster loan. The timing of this is vague but I am hearing its 30 days away. I
        called the SBA and they have my application and I should be receiving a document list soon. For this loan we will need to show
        proof of loss from the pandemic which will be very easy for us to do. A good portion of these funds will be used to clean up the SOT.
        Again, I don’t know the specifics and if there will be any restrictions on this loan. If there is still a balance after these loans fund that
        we would look to enter into a short term payment plan.
     5. We are also expecting other relief loans specific to the car rental business. We don’t have specifics on these yet but we think there
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      could be additional funds for us since car rental was a big part of our losses.

Finally, we would need AFC and NG to agree to terms in order for this to happen. Again, we want to remain in business and payback NG
ASAP as described above.

Please let me know if you have any questions regarding this proposal. I am available by cell if you need to discuss.

Thank You,




From: Mike Kastrenakes
Sent: Tuesday, April 14, 2020 3:21 PM
To: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Subject: RE: CIT Inventory

Your stock number if its easier is 120482.
Thank You,




From: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Sent: Tuesday, April 14, 2020 2:58 PM
To: Mike Kastrenakes <mikek@newwaveautosales.com>
Subject: Re: CIT Inventory

Yes, Let me know which one.

LW

Get Outlook for iOS

From: Mike Kastrenakes <mikek@newwaveautosales.com>
Sent: Tuesday, April 14, 2020 2:21:29 PM
To: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Subject: RE: CIT Inventory

Yes that is fine. Can you send me one extra title? If so 120482.
Thank You,




From: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Sent: Tuesday, April 14, 2020 2:10 PM
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                                                                                                                                EXHIBIT B




From: Mike Kastrenakes
Sent: Tuesday, April 7, 2020 11:13 AM
To: White, Logan (CAI - Florida) <Logan.White@coxautoinc.com>
Subject: Re: Letters Sent

Ok please email me letter ASAP.
Mike.

Sent from my iPhone


          On Apr 7, 2020, at 11:11 AM, White, Logan (CAI - Florida) <Logan.White@coxautoinc.com> wrote:

      ﻿
      Mike,
      Letters were sent to the following:
       MK AUTOMOTIVE INC DBA NEW WAVE AUTO SALES                                                          8000 Park Blvd N
       MK AUTOMOTIVE INC DBA NEW WAVE AUTO SALES                                                          19206 US 19 NORTH
       MARIA J KASTRENAKES                                                                                1755 MCCAULEY RD
       MICHEAL KASTRENAKES                                                                                1755 MCCAULEY RD
       BANK OF AMERICA, N.A                                                                               9000 SOUTHSIDE BLVD
       BANK OF AMERICA, N.A., AS ADMINISTRATIVE AGENT                                                     231 SOUTH LASALLE STREET, IL1-231-08-30
       BANK OF AMERICA, N.A., AS ADMINISTRATIVE AGENT                                                     101 N. TRYON STREET, NC1-001-05-45
       CENTERSTATE BANK                                                                                   3711 TAMPA RD
       JEFFERSON BANK OF FLORIDA                                                                          3711 TAMPA RD
       AUTOMOTIVE FINANCE CORPORATION                                                                     13085 HAMILTON CROSSING BLVD, SUITE 300
       C T CORPORATION SYSTEM, AS REPRESENTATIVE                                                          330 N BRAND BLVD, SUITE 700
       REPUBLIC BANK & TRUST COMPANY                                                                      601 W. MARKET ST.
       GREATAMERICA FINANCIAL SERVICES CORPORATION                                                        625 FIRST STREET
      Logan White
      e: Logan.White@CoxAutoInc.com
      m: 317-681-3363

      <image001.png>
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                                                                    EXHIBIT C




From: "White, Logan (CAI - Florida)" <Logan.White@coxautoinc.com>
Date: April 7, 2020 at 11:31:44 AM EDT
To: Mike Kastrenakes <mikek@newwaveautosales.com>
Subject: 16435 - New Wave Auto Sales
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Mike,
I want to start by apologizing, this is not an e-mail that I was intending to have to write.
Unfortunately, due to an administrative error by our Corporate team, letters were sent
(in two batches) out to likely creditors indicating that NGC has repossessed and intends
to sell financed inventory. I want to reiterate and confirm that this is not the case.
Everything we discussed is still moving forward as planned. Inventory will be held at
auction, to allow you to payoff and redeem vehicles you wish to keep.
Yes, the lending relationship between New Wave Auto Sales and NGC will be
discontinued. However, at this time NGC does not plan on self liquidating any inventory
and/or utilizing any default/collection remedies.
New Wave and NGC have had 10+ year very successful relationship and we have every
intention of ending it on the right note. Again, I sincerely apologize for the mistake.
Logan White
e: Logan.White@CoxAutoInc.com
m: 317-681-3363
